Case 6:05-cr-00114-JCB-KNM          Document 221        Filed 08/18/06      Page 1 of 2 PageID #:
                                           295



                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                        TYLER DIVISION



 UNITED STATES OF AMERICA                        §

 Vs.                                             §           CRIMINAL ACTION 6:05CR114(2)

 STEVEN MICHAEL RODRIGUEZ                        §



          ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS OF FACT AND
                 RECOMMENDATION ON FELONY GUILTY PLEA


        On this day, the Court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Judith K. Guthrie regarding the Defendant’s plea of guilty to Counts 13 and 14 of

 the Superseding Indictment in the above-numbered cause. Having conducted a proceeding in the

 form and manner prescribed by Fed.R.Crim.P. 11, Magistrate Judge Guthrie recommends that the

 Court accept the plea agreement and the guilty plea of the Defendant.

        No objections have been filed to the Magistrate Judge’s Findings and Recommendation

 within the time period set by law, and neither party has requested a de novo review of the plea

 proceedings before the Magistrate Judge. If a de novo review becomes necessary at any point during

 the pendency of the cause, the Court reserves the right to conduct it. Based on the current record

 before the Court, it appearing that the Findings and Recommendation are neither clearly erroneous

 nor contrary to law, the Court is of the opinion that said Findings and Recommendation should be

 adopted. It is accordingly


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Case 6:05-cr-00114-JCB-KNM          Document 221        Filed 08/18/06     Page 2 of 2 PageID #:
                                           296



         ORDERED that the Findings of Fact and Recommendation of United States Magistrate

 Judge Judith K. Guthrie, filed July 26, 2006, is hereby ADOPTED. It is further

         ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

 the plea agreement is approved by the Court, conditional upon a review of the presentence report.

 It is finally

         ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

 GUILTY of Counts 13 and 14 of the Superseding Indictment in the above-numbered cause and

 enters a JUDGMENT OF GUILTY against the Defendant as to Counts 13 and 14 of the

 Superseding Indictment.

           So ORDERED and SIGNED this 18th day of August, 2006.




                                __________________________________
                                LEONARD DAVIS
                                UNITED STATES DISTRICT JUDGE




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